Case: 1:18-cv-01039 Document #: 55-2 Filed: 04/10/18 Page 1 of 2 PageID #:303




             Exhibit B
             Case: 1:18-cv-01039 Document #: 55-2 Filed: 04/10/18 Page 2 of 2 PageID #:304

                                              LJM Funds Management, Ltd. (LJMIX)
                                                      Opposing Movant
Class Period: 2/28/2015 - 2/7/2018                                                                                      Hold Price: $1.9844

 Lynda Godkin

             Transaction Type                         Date                Quantity               Price*                   Amount

 Purchase                                      10/30/2017                       19,002              $11.3700                  ($216,050.00)

 Purchase                                      12/6/2017                             338            $10.6100                    ($3,585.63)

 Purchase                                      12/6/2017                             859            $10.6100                     ($9,113.24)

 Lookback Period Sale                          3/2/2018                        (20,199)              $2.0000                    $40,397.27

 (Loss)/Gain                                                                                                                  ($188,351.59)




 * Any shares sold within 90 days after the end of the class period have been valued at the higher price between the actual sale price and
 the average closing price from the end of the class period to the date of the sale.

 ** Losses calculated on a last-in first-out basis.
